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                                         UNITED STATES BANKRUPTCY COURT
                                            SOUTHERN DISTRICT OF OHIO
                                                 EASTERN DIVISION

 In re:                                                     :          Case No. 04-60904

             Columbus Microfilm, Inc.                       :          Chapter 7

             TIN: XX-XXXXXXX                                :          Judge Calhoun

                          Debtor.                           :

                                          TRUSTEE’S THIRD OPERATING
                                    REPORT FOR PERIOD ENDING JANUARY 31, 2007


        Larry J. McClatchey, ("McClatchey" or "Trustee"), the duly authorized and acting
 chapter 7 Trustee, hereby makes his monthly operating report for the period ending January 31,
 2007:

         1.     APPOINTMENT: This case began as a voluntary Chapter 11 bankruptcy filed
 on July 9, 2004 (“Petition Date”) by Columbus Microfilm, Inc. (hereafter “CMI” or “Debtor”)
 after a period of time spent in receivership. On or about October 27, 2006, this Court, after
 hearing, entered its Order Converting Case to Chapter 7 ("Conversion Order") converting the
 above-styled bankruptcy case from a case under Chapter 11 to a case under Chapter 7. On or
 about the same time, McClatchey was appointed Chapter 7 trustee in this case.

         2.     TRUSTEE’S CONTINUED OPERATION OF THE DEBTOR’S BUSINESS
 AND REORGANIZATION PROSPECTS: The Conversion Order authorized the Trustee "to
 operate the Debtor's business for 30 days after the date of entry of [the Conversion Order],"
 which the Trustee has been doing since his appointment. At this time, the Debtor’s business of
 microfilming and digitizing documents continues to operate. Trustee has filed a request for
 authority to continue operations through March 31, 2007. Trustee has received a purchase offer
 for the tangible assets of the business that Trustee expects to close, after obtaining court
 approval, by that date. Trustee has concluded that a reorganization of CMI under the provisions
 of chapter 11 of the Bankruptcy Code is not possible. The offered price for the assets is less than
 the amount of the secured claim of Huntington National Bank. Trustee and Huntington have
 reached an agreement under which Huntington will subordinate its secured claim in the proceeds
 to 25% of the sale proceeds or $50,000, whichever is greater, to defray Trustee compensation
 and legal fees of Trustee’s counsel, including costs associated with obtaining court approval of
 the sale. Unless a higher offer is received after notice of the sale, there will be no liquidation
 proceeds available to pay any claims against the superseded chapter 11 estate, or to pay any pre-
 petition unsecured creditors.

        In January, Trustee entered into a settlement with St. Mary’s Medical Center for
 continued work on their projects as well as payment of previous work completed. St. Mary’s
 advanced funds to Debtor prior to conversion against work that CMI had agreed to perform
 during the fiscal year beginning October 1, 2006. Former management of CMI did not disclose
 to the Court or the Trustee that the payment received October 27, 2006 was not proceeds of
 accounts receivable. As a consequence, in December Trustee faced a severe cash flow problem.
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 Trustee and St. Mary’s reached an agreement for completion of work on records of St. Mary’s
 for the 2004 fiscal year. CMI is to receive bi-weekly payments of $16,984.81 each and CMI has
 agreed to complete the work for total additional payments of $169,840.00. Trustee is also
 receiving payments from other work performed by CMI.

         3.     TRUSTEE’S EVALUATION OF ASSETS:                    Trustee    engaged      Brad
 Eldridge of BSE Partners, LLC as financial adviser to assist in Trustee’s evaluation of the
 business and its assets. In a report dated December 27, 2006, Mr. Eldridge concluded that the
 value of accounts receivable was $43,545.74, significantly below what has been reported to the
 Court and creditors by prior management. CMI maintains raw materials in inventory having
 minimal value. Mr. Eldridge also reported that the recorded book value of Debtor’s plant and
 equipment was $490,674 but that the assets have been fully depreciated on Debtor’s books.

                Trustee has obtained a copy of a 2005 appraisal of assets of CMI done by
 Vannatta Brothers opining that the “in use, in place” value of the plant and equipment in
 September of 2005 was $380,000. Mr. Vannatta advised Trustee that the anticipated liquidation
 value of the plant and equipment in today’s market conditions would be about 25% of the going
 concern appraised value, or about $95,000.

                Trustee has received a written offer of $200,000 for purchase of the assets. The
 offeror is a new entity to be formed by Kellie Scheck and John Lewis, current management
 employees of CMI. The proposed sale is in the documentation stage prior to Trustee’s notice of
 sale. Trustee is aware of one other party that has expressed an interest and make participate in
 bidding.

             4.           BOND: Trustee has a blanket Trustee’s Bond in the amount of $2,000,000.00.

         5.     ESTATE INCOME: Trustee received approximately $188,000.00 on October
 27, 2006 in funds that Debtor had in its accounts at National City Bank. Since October 27, 2006,
 Trustee has collected CMI’s accounts receivable and has made disbursements for payroll and
 other operating expenses. Attached and incorporated herein are account statements, with
 detailed itemization of subsequent income and expense of Debtor. For this reporting period,
 CMI had cash on hand of $9197.13, income from operations of $89,023.55 and expenses were
 $91,065.75. The ending cash balance for the month was $6614.93.

         6.      EXAMINATION OF PROOFS OF CLAIM: The Court set February 28, 2007,
 as the last day for filing Proofs of Claim for interest in this case. The Trustee has not yet
 undertaken any examination of proofs of claim filed in the case. Because of the extended period
 of chapter 11 operations, and substantial unpaid chapter 11 priority claims, it appears that a there
 will be no funds available for distribution to chapter 11 administrative claimants or unsecured,
 pre-petition creditors.

         7.      PROVIDE INFORMATION: Trustee has conducted a number of conferences
 and meetings with parties in interest and their representatives including Angela Granata, and the
 Debtor’s counsel, Grady Pettigrew. Trustee has also communicated with attorneys for other
 parties in interest, including Andrew Malek, Christopher Angst, Nora Jones and Dennis
 Morrison. The Trustee has furnished all information requested by parties in interest concerning
 the estate and the administration of the estate.


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         8.     OPERATING REPORTS: This constitutes Trustee’s third operating report for
 the period ending January 31, 2007.

         9.      INSURANCE MATTERS: The property of the estate known to the Trustee
 consists of the leasehold estate at 753 Harmon Avenue, Columbus, Ohio, various items of
 machinery, several vehicles, various accounts receivable, and possibly some addition
 unliquidated unsecured claims against various entities. Debtor’s property is insured against
 losses, including casualty.

         10.     INVESTIGATION OF THE ACTS, CONDUCT AND FINANCIAL
 CONDITION OF THE DEBTOR: Trustee has continued to investigate the acts, conduct and
 financial affairs of the Debtor. Trustee has gathered evidence suggesting that Debtor’s prior
 management significantly misrepresented the position of the business, its relationship with its
 customers, and the value of its assets. Trustee’s investigation is hindered by a lack of assets in
 the estate to support any further investigation.

         11.    EMPLOYMENT OF COUNSEL AND OTHER PROFESSIONALS: Trustee
 employed the law firm of Kegler, Brown, Hill, & Ritter (“Kegler Brown”) to represent him
 generally in connection with the Debtor’s case. Trustee also employed Brad Eldridge of BSE
 Partners to assist in financial valuation and business matters. Trustee filed an Application to
 Employ Gerry J. Kesel of Kesel & West, Certified Public Accountants, as Accountant to prepare
 the fiscal year end tax returns; review internally-prepared financial statements; review and
 reconcile bank statements; and prepare cash flow statements and budget projections.

         12.     TAX MATTERS: The Debtor, in operating its business under chapter 11, failed
 to pay its payroll and other trust fund taxes due the IRS and had built up a substantial post-
 petition, pre-petition arrearage of these obligations. The Trustee hired Paychex, Inc. to process
 the Debtor’s payroll for its continued operations and ensure that tax withholdings were being
 made while the Debtor continued to operate. It appears unlikely that any payment can be made
 on Debtor’s chapter 11 payroll tax obligations. Trustee is paying Debtor’s ongoing payroll taxes
 for the period after October 27, 2006. Trustee is informed and believes that all payroll taxes for
 the fourth quarter of 2006 either have been or will be paid, and that all required returns have
 been filed. Trustee is also informed and believes that all other “trust fund” obligations, including
 sales taxes to the State of Ohio, have been or will be paid.

 Dated: February 20, 2007                             Respectfully submitted,

                                                       /s/ Larry J. McClatchey
                                                      Larry J. McClatchey (0012191)
                                                      KEGLER BROWN HILL & RITTER
                                                      A Legal Professional Association
                                                      65 East State Street, Suite 1800
                                                      Columbus, Ohio 43215
                                                      Telephone:      614/462-5400
                                                      Facsimile:      614/464-2634
                                                      lmcclatchey@keglerbrown.com
                                                      Trustee and Attorney for Trustee



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                                              CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on February 20, 2007, a copy of the foregoing
 Third Operating Report was served automatically electronically or deposited for delivery by
 ordinary United States mail, postage prepaid, as shown below, to the following listed persons:


 ELECTRONIC SERVICE:

 Asst US Trustee (Col)                  ustpregion09.cb.ecf@usdoj.gov

 Kristopher E Aungst                  kristopher.e.aungst@usdoj.gov

 Stewart Hamilton Cupps scupps@keglerbrown.com bbrett@keglerbrown.com

 Brian M Gianangeli                   bgianangeli@mifsudlaw.com

 Mark W Iannotta                    mwi@columbuslawyer.net tam@columbuslawyer.net

 Nora E Jones                jones@ghjlaw.com

 Andrew M Malek                     USAOHS.ECFColBank@usdoj.gov

 Dennis J Morrison dmorrison@mbbblaw.com; m3blaw@yahoo.com; mbuflo@columbus.rr.com

 Grady L Pettigrew                   gpecf1@sbcglobal.net glp14@sbcglobal.net;bw112@sbcglobal.net

 Laura M Zaremski                    lzaremski@bricker.com


 U.S. MAIL SERVICE:

 Angela R Granata
 President of Columbus Microfilm, Inc.
 1922 New Market Drive
 Grove City, OH 43123


                                                         /s/ Larry J. McClatchey
                                                         Larry J. McClatchey




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                                          Columbus Microfilm, Inc.
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                                     January 1, 2007 to January 31, 2007


                                           BANK OF AMERICA:

 Balance Forward:                                                                                  $9,197.13

 Income:                                                                                     +    89,023.55
                                                                                                 $98,220.68

         Disbursements:
                Trustee Bond:                                    $275.19
                Payroll1:                                      36,649.00
                Payroll Taxes:                                 18,584.25
                Petty Cash:                                       500.00
                Rent:                                          19,677.68
                Insurance:                                      1,952.12
                Taxes:                                          1,368.68
                Supplies:                                      12,598.83
                                                                                             -     91,605.75

 Total On Hand as of January 31, 2007 (BOA):                                                       $6,614.93




 1
   Payroll and payroll taxes disbursed through accounts of Debtor at National City Bank, copies of account
 statements attached.
